       Case 2:14-cr-00409-HB Document 159 Filed 07/16/15 Page 1 of 6



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :              CRIMINAL ACTION
                                     :
          v.                         :
                                     :
CHAKA FATTAH, JR.                    :              NO. 14-409

                               MEMORANDUM

Bartle, J.                                                  July 16, 2015

          Defendant Chaka Fattah, Jr. (“Fattah”) has been indicted

on twenty-three counts of fraud, theft, and tax-related offenses.

In his instant motion Fattah seeks to dismiss the superseding

indictment under the Grand Jury Clause of the Fifth Amendment to the

United States Constitution which states:     “No person shall be held

to answer for a capital, or otherwise infamous crime, unless on a

presentment or indictment of a grand jury.”      U.S. Const. amend. V.

He maintains that since the clause was violated he may not be tried.1

          Fattah argues that the Government violated the Grand Jury

Clause because it sought and obtained the grand jury’s permission to

substitute, after the superseding indictment was returned and before

it was filed, pages of the superseding indictment to correct

clerical errors in Counts Four and Five.     He seems to assert that




1
   We note that the deadline for Fattah to submit pretrial
motions related to the grand jury testimony underlying the
superseding indictment was June 17, 2015, yet he filed the
instant motion on June 24, 2015. Despite this untimeliness, we
reach the merits.
       Case 2:14-cr-00409-HB Document 159 Filed 07/16/15 Page 2 of 6



the grand jury cannot give such permission to make post-return

amendments or corrections to an indictment.

          Before the grand jury, the Government presented the common

factual basis for Counts Four and Five and then proceeded to read

each count out loud.   As it was recited to the grand jury, Count

Four stated:

          Count Four: Paragraphs 1 and 4 of the
          Introduction are incorporated here. On or
          about November 7, 2005, in the Eastern District
          of Pennsylvania, defendant Chaka Fattah, Jr.
          knowingly made and caused to be made to Bank of
          America false statements for the purpose of
          influencing the actions of Bank of America upon
          a $10,000 business line of credit for defendant
          Fattah, doing business as 259 Strategies, which
          he claimed offered management consulting
          services. Defendant Fattah claimed, among
          other things, that 259 strategies had $140,000
          in gross annual sales, that it had zero
          business debt, and that he would use the
          proceeds of the line of credit for working
          capital for his business. In fact, Fattah knew
          that 259 Strategies did not have annual sales
          of $140,000, Fattah knew that 259 Strategies
          had tens of thousands of dollars in business
          debt, and Fattah knew that he would not use the
          proceeds of the line of credit for business
          related purposes, as required by the terms of
          the loan, but instead would use the proceeds
          primarily to pay for personal expenses.

(emphasis added).   After this reading, a grand juror questioned the

date of November 7, remarking that it contradicted other materials

that had been submitted for consideration.      The Assistant United

States Attorney agreed that November 16, 2005 was actually the

correct date and stated:    “[w]ith your permission what we will do


                                   -2-
       Case 2:14-cr-00409-HB Document 159 Filed 07/16/15 Page 3 of 6



is, we’ll change the typed document for Count Four to read the

correct date and then we’ll substitute that page in before we take

it over to the courthouse.”    The grand jury assented.

          The Government then moved on to read Count Five.        As it

was presented to the grand jury, Count Five charged:

          On or about July 12, 2005, in this district,
          defendant Chaka Fattah, Jr. knowingly induced
          and procured [M.A.] to make and caused [sic] to
          be made to PNC Bank false statements for the
          purpose of influencing the actions of PNC Bank
          upon a $15,000 revolving line of credit to
          M.A., doing business as Chaka Fattah, Jr. &
          Associates, (“CFJA”). [M.A.] claimed, among
          other things, that he was the owner and Chief
          Executive Officer of CFJA, that CFJA had
          $139,000 in sales, and that he would use the
          proceeds of the line of credit for working
          capital for his business. In fact, defendant
          Fattah knew that CFJA was not an existing
          business entity and M.A. was not the owner and
          Chief Executive Office [sic]. Fattah knew that
          CFJA had not had sales of $139,000, and Fattah
          knew that the proceeds of the line of credit
          would not be used for working capital for the
          business, as required under the terms of the
          loan, but instead would be used primarily to
          pay for personal expenses. In violation of
          Title 18, United States Code, Section[s] 1014
          and 2.

After reading Count Five, the Assistant United States Attorney then

stated that he saw “additional words in here that we will correct

also, with the Grand Jury’s permission.”     There is no notation in

the record that the grand jury gave its permission to correct any

“additional words.”   The Government then went on to present the

remainder of the proposed superseding indictment to the grand jury.


                                   -3-
       Case 2:14-cr-00409-HB Document 159 Filed 07/16/15 Page 4 of 6



          The superseding indictment, signed by the grand jury

foreperson, was filed on March 3, 2015.     As it appears in that

document, Count Four reads:

               1.    Paragraphs 1 and 4 of the
          Introduction are incorporated here.
               2.    On or about November 16, 2005, in the
          Eastern District of Pennsylvania, defendant
                          CHAKA FATTAH, JR.
          knowingly made and caused to be made to Bank of
          America false statements for the purpose of
          influencing the actions of Bank of America upon
          a $10,000 business line of credit for defendant
          FATTAH, doing business as 259 Strategies, which
          he claimed offered management consulting
          services. Defendant FATTAH claimed, among
          other things, that 259 strategies had $140,000
          in gross annual sales, that it had zero
          business debt, and that he would use the
          proceeds of the line of credit for working
          capital for his business. In fact, FATTAH knew
          that 259 Strategies did not have annual sales
          of $140,000, FATTAH knew that 259 Strategies
          had tens of thousands of dollars in business
          debt, and FATTAH knew that he would not use the
          proceeds of the line of credit for business
          related purposes, as required by the terms of
          the loan, but instead would use the proceeds
          primarily to pay for personal expenses.
                     In violation of Title 18, United
          States Code, Section 1014.

(emphasis added).    Other than the change in date approved by the

grand jury, the factual assertions of this version of Count Four are

identical to those in the version of Count Four originally recited

to the grand jury.

          The filed version of Count Five reads:

               1.    Paragraphs 1, 2, and 4 of the
          Introduction are incorporated here.


                                   -4-
       Case 2:14-cr-00409-HB Document 159 Filed 07/16/15 Page 5 of 6



               2.    On or about July 12, 2005, in the
          Eastern District of Pennsylvania, defendant
                          CHAKA FATTAH, JR.
          knowingly induced and procured M.A. to make and
          caused [sic] to be made to PNC Bank false
          statements for the purpose of influencing the
          actions of PNC Bank upon a $15,000 revolving
          line of credit to M.A., doing business as Chaka
          Fattah, Jr. Associates, (“CFJA”). M.A.
          claimed, among other things, that he was the
          owner and Chief Executive Officer of CFJA, that
          CFJA had $139,000 in sales, and that, and that
          [sic] he would use the proceeds of the line of
          credit for working capital for his business.
          In fact, defendant FATTAH knew that CFJA was
          not an existing business entity and M.A. was
          not the owner and Chief Executive Officer,
          FATTAH knew that that [sic] CFJA had not had
          sales of $139,000, and FATTAH knew that the
          proceeds of the line of credit would not be
          used for working capital for the business, as
          required under the terms of the loan, but
          instead would be used primarily to pay for
          personal expenses.
                     In violation of Title 18, United
          States Code, Sections 1014 and 2.

It appears from the typographical errors noted above that the

“additional words” which caught the eye of the Assistant United

States Attorney in the grand jury proceedings were never removed.

Thus, there is nothing to suggest that there were any changes to

Count Five between the time it was read to and approved by the grand

jury and its filing with the court.

          The date change in Count Four is the only alteration in

the factual assertions in Counts Four and Five that occurred between

the initial reading of the superseding indictment and its filing.

The grand jury gave its express permission for the Government to


                                   -5-
       Case 2:14-cr-00409-HB Document 159 Filed 07/16/15 Page 6 of 6



make that revision.   Nonetheless, Fattah seems to argue that the

Assistant United States Attorney’s statements before the grand jury

are evidence that the Government on its own improperly altered the

superseding indictment after the grand jury returned it.       He urges

that the indictment thus violates the Grand Jury Clause.

          Fattah’s argument has no basis in fact.       We agree that a

defendant may not be “tried on charges that are not made in the

indictment against him.”    Stirone v. United States, 361 U.S. 212,

217 (1960) (citing Ex parte Bain, 121 U.S. 1 (1887)).       Once an

indictment has been returned, the court may not amend it on the

request of the prosecution without resubmitting it to the grand jury

for its approval.   Ex parte Bain, 121 U.S. at 5-6, 13.      In this

matter, however, the grand jury specifically approved the amendment,

that is the change in date, contained in Count Four of the

superseding indictment.    The charges against Fattah were all

presented and approved by the grand jury and are set forth in the

superseding indictment.    Fattah’s position is not only without merit

but contrary to the Supreme Court’s analysis in Bain.

          Accordingly, the motion of Fattah to dismiss the

superseding indictment will be denied.




                                   -6-
